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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

CHRISTINA MULLIGAN and JAMES OEHLER, 20 Civ. 7178 (JGK)
individually and on behalf of their
minor daughter N.O., ORDER
Plaintiffs,
- against -

754-768 BRADY OWNERS CORP. ET AL.,

Defendants.

 

JOHN G. KOELTL, District Judge:

The parties are directed to file a Rule 26(f) report by
November 16, 2020.
SO ORDERED.

Dated: New York, New York
November 2, 2020

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John G. Koeltl
United States District Judge

 

 

 

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